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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Ruth Jenkins, et al. JUDGE FALLON

v

Merck & Co., Ine. MAGISTRATE JUDGE KNOWLES

Only with regard to:
Billy Kamp

Docket No. 2:05-cv-04054

* * * * *® *& *¥ ® ® KK KH HF KK OK

ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Billy Kamp in the above-captioned case be
and they hereby are dismissed with prejudice with each party to bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2011.

DISTRICT JUDGE
